   Case 06-10594 Doc    122 Filed 06/13/22 Entered  06/13/22 15:10:53
              Desc   Main Document            Page 1 of 2
                   UNITED STATES BANKRUPTCY COURT

                                   DISTRICT OF VERMONT

IN RE:                                                )
                                                      )
EMILY BYRNE                                           )       Case No. 06-10594-cab
                                                      )       Chapter 7 Case
                                       Debtor.        )



                               TRUSTEE’S STATUS REPORT
                                       June 2022


         Now comes Raymond J. Obuchowski, Esq., Successor Chapter 7 Trustee, and submits his

status report in the above referenced matter, as follows:


         1.    On December 5, 2018, a verdict in the civil action of Emily Byrne v. Avery Center

for Obstetrics and Gynecology, PC, Connecticut Superior Court, Docket No. FBT CV 07-

6001633 was entered in the sum of $853,000.00 and Judgment on September 3, 2019.

         2.    The matter has continued in post-trial proceedings and is presently on appeal, (AC

43413). The Connecticut Appellate Court ruled in the Debtor’s favor, however the Defendant has

now filed a Petition for Certiorari. Special Counsel will be responding, and expects a decision

within 60 days after.

         3.    A status hearing is currently scheduled for July 19, 2022, which even if a decision

is rendered on the Motion for Certiori, it is unlikely that even if the verdict stands in its entirety

it is not likely that the Bankruptcy Estate will have received any funds as to proceed with

completing administration.

         4.    The Trustee requests that the current status hearing for July 19, 2022 be rescheduled

to a new date in not less than 120 days, which by that date the appeal may have been completed
  Case 06-10594 Doc            122 Filed 06/13/22 Entered             06/13/22 15:10:53
                 Desc       Main Document                 Page       2 of 2
or at least decision and opinion entered and further information as to administration of the

judgment or collection thereon will be known.



     WHEREFORE the Trustee respectfully requests the Court accept his Status report, and set

such matter for further status at a period of not less than 4 months, and for such other and further

relief as the Court deems just and proper.



       DATED at Royalton, Vermont this 13th day of June 2022.


                                                             BANKRUPTCY ESTATE OF
                                                             EMILY BYRNE

                                                      By:    /s/ Raymond J. Obuchowski
                                                             Raymond J. Obuchowski, Esq.
                                                             Chapter 7 Trustee
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                                             Page 2 of 2
